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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NORTH DAKOTA
                              NORTHWESTERN DIVISION

United States of America,              )
                                       )
               Plaintiff,              )       ORDER FOR DEFENDANT’S TEMPORARY
                                       )       RELEASE
       vs.                             )
                                       )
Robert Manuel Martell,                 )       Case No. 1:13-cr-018
                                       )
               Defendant.              )

       On January 9, 2014, the defendant, Robert Manuel Martell, entered pleas of guilty to the

following offenses: conspiracy to possess with intent distribute and distribute a controlled substance

(Count I); and distribution of a controlled substance (Count III). He is being held in federal custody

at the Lake Region Correctional Center in Devils Lake, North Dakota, pending a sentencing hearing

scheduled for April 21, 2014.

       On February 25, 2014, defendant filed a motion requesting that he be released to the custody

of Danielle Beckley for a period of up seven days so that he can make arrangements for his 18

month old child. The child’s mother, Miranda Scherr, died on February 15, 2014, of injuries

sustained in an automobile accident. The child is presently in the custody of Scherr’s great aunt.

The court has been advised that the Government has no objection to defendant’s motion.

Accordingly, the court GRANTS plaintiffs’ motion (Docket No. 148).

       Defendant shall be released to the third-party custody of Danielle Beckley until he finalizes

arrangements for his child or until March 4, 2014, whichever comes first. While on release

defendant shall comply with the following conditions:

       (1)     Defendant shall immediately contact Pretrial Services Officer Tim Howard at the

               following number upon his release: (701) 530-2314. Thereafter defendant shall

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               report to the Pretrial Services Office at such times and in such manner as designated

               by the Officer Howard.

       (2)     Except upon prior approval from the Pretrial Services Officer, the defendant's travel

               is restricted to the States of North Dakota and South Dakota.

       (3)     Defendant shall refrain from: any use of alcohol; any use or possession of a narcotic

               drug and other controlled substances defined in 21 U.S.C. § 802 or state statute,

               unless prescribed by a licensed medical practitioner; and any use of inhalants.

               Defendant shall submit to drug/alcohol screening at the direction of the Pretrial

               Services Officer to verify compliance. Failure or refusal to submit to testing or

               tampering with the collection process or specimen may be considered the same as a

               positive test result.

       (4)     Defendant shall not possess a firearm, destructive device, or other dangerous

               weapon.

       (5)     Defendant shall reside at Ms. Beckley’s home in Carrington, North Dakota, and not

               change this residence without prior approval of the Pretrial Services Officer.

       (6)     Defendant shall submit his person, residence, vehicle, and/or possessions to a search

               conducted by a Pretrial Services Officer at the request of the Pretrial Services

               Officer. Failure to submit to a search may be grounds for revocation of pretrial

               release. Defendant shall notify any other residents that the premises may be subject

               to searches pursuant to this condition.

Defendant shall return to the Lake Region Correctional Center no later than March 4, 2014. Upon

his return to the Lake Region Correctional Center, he shall be remanded back into the custody of the

Attorney General pending sentencing.

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IT IS SO ORDERED.

Dated this 26th day February 26, 2014.

                                             /s/ Charles S. Miller, Jr.
                                             Charles S. Miller, Jr., Magistrate Judge
                                             United States District Court




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